Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11748 Page 1 of 26



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    6
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    9
                         UNITED STATES DISTRICT COURT
   10
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   11
   12 BRAD MAUSS, Individually and on
      Behalf of All Other Persons Similarly            Case No.: 13-cv-02005-JM
   13
      Situated,
   14                             Plaintiffs           CLASS ACTION
   15                     v.
                                                       Judge: Hon. Jeffrey T. Miller
   16 NUVASIVE, INC., ALEXIS V.                        Courtroom: 5D
        LUKIANOV, KEVIN C. O’BOYLE, and                Hearing Date: April 30, 2018
   17
        MICHAEL J. LAMBERT,                            Time: 10:00 a.m.
   18
   19
                                      Defendants.

   20    NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL
                      OF CLASS ACTION SETTLEMENT
   21
   22         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   23            PLEASE TAKE NOTICE that on April 30, 2018 at 10:00 a.m., or as soon
   24
        thereafter as the matter may be heard, in the courtroom of the Honorable Jeffrey T.
   25
        Miller, United States District Judge for the Southern District of California, located at
   26
        221 West Broadway, San Diego, California 92101, Courtroom 5D, Lead Plaintiff
   27
        Brad Mauss and plaintiff Daniel Popov (collectively, “Plaintiffs”) will, and do, move
   28
        this Court, pursuant to Fed. R. Civ. P. 23(a), 23(b)(3), and 23(g), for an Order: (1)
        preliminarily approving the proposed settlement set forth in the Stipulation of
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11749 Page 2 of 26



    1 Settlement dated March 23, 2018 (the “Stipulation”); (2) appointing Strategic Claims

    2 Services as Settlement Administrator; (3) approving the proposed form and manner

    3 of disseminating notice to the Class; (4) setting deadlines for the dissemination of

    4 notice, the submission of proofs of claim and requests for exclusion, the filing of

    5 objections, and the filing of Plaintiffs’ motion for final approval of the Settlement and

    6 Class Counsel’s application for attorneys’ fees and expenses; and (5) setting a date

    7 for the final approval hearing.

    8        This Motion is based on the following memorandum of points and authorities;
    9 the Stipulation and exhibits thereto (filed herewith); the accompanying Proposed
   10 Preliminary Approval Order (filed herewith); the Court’s file in this action, and any

   11 additional evidence or argument that the Court may request.

   12
        Dated: March 23, 2018                 Respectfully submitted,
   13

   14                                         POMERANTZ LLP
   15
                                              /s/Jeremy A. Lieberman
   16                                         Jeremy A. Lieberman
                                              Michele S. Carino
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                                              Liaison Counsel for Plaintiffs

                                             - ii -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11750 Page 3 of 26



    1                                              TABLE OF CONTENTS
    2
    3
        I.    INTRODUCTION .................................................................................................. 1
    4
    5 II. FACTUAL BACKGROUND ................................................................................. 2
    6 III. PROCEDURAL HISTORY ................................................................................... 3
    7
        IV. THE SETTLEMENT .............................................................................................. 6
    8
    9
        V. THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY
           APPROVAL ........................................................................................................... 6
   10
   11            A. Standards for Preliminary Approval ............................................................ 6

   12            B.    The Proposed Settlement Merits a Presumption of Fairness....................... 7
   13
                 C.    The Proposed Settlement Recovery Falls Within the Range of Possible
   14                  Approval .................................................................................................... 10
   15
                       1. The Strength of Plaintiffs’ Case and Risk, Expense, Complexity, and
   16                     Likely Duration of Further Litigation .............................................. 10
   17
                       2. The Amount Offered in Settlement .................................................. 12
   18
   19
                       3. The Extent of Discovery Completed and Stage of the Proceedings 13

   20                  4. The Experience and Views of Counsel ............................................ 15
   21
        VI. THE PROPOSED NOTICE PROGRAM IS APPROPRIATE ............................ 15
   22
        VII. THE PROPOSED SCHEDULE ........................................................................... 17
   23
   24 VIII.            CONCLUSION ......................................................................................... 18
   25
   26
   27
   28
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11751 Page 4 of 26



    1
                                             TABLE OF AUTHORITIES
    2

    3                                                                                                                Page(s)
    4 Cases

    5 Acosta v. Trans Union, LLC,

    6       243 F.R.D. 377 (C.D. Cal. 2007) .......................................................................... 7
    7 Browning v. Yahoo! Inc.,
            2007 U.S. Dist. LEXIS 86266 (N.D. Cal. Nov. 16, 2007) ............................ 13, 14
    8

    9 Carson v. Am. Brands, Inc.,
            450 U.S. 79 (1981) ................................................................................................ 7
   10
        Churchill Vill., L.L.C. v. GE,
   11
          361 F.3d 566 (9th Cir. 2004) ............................................................................... 10
   12
        Class Plaintiffs v. Seattle,
   13      955 F.2d 1268 (9th Cir. 1992) ............................................................................... 7
   14
        D’Amato v. Deutsche Bank,
   15     236 F.3d 78 (2d Cir. 2001) .................................................................................... 9
   16 Deaver v. Compass Bank, No. 13-cv-00222-JSC,

   17       2015 WL 4999953,
            2015 U.S. Dist. LEXIS 111170 (N.D. Cal. Aug. 21, 2015) .................................. 7
   18

   19
        Hanlon v. Chrysler Corp.,
          150 F.3d 1011 (9th Cir. 1998) ............................................................................... 6
   20
        In re Am. Apparel S’holder Litig.,
   21
            2014 U.S. Dist. LEXIS 184548 (C.D. Cal. Jul. 28, 2014) ............................ 13, 14
   22
        In re Celera Corp. Secs. Litig., No. 5:10-cv-02604-EJD,
   23       2015 U.S. Dist. LEXIS 157408 (N.D. Cal. Nov. 20, 2015) .......................... 11, 17
   24
      In re Cylink Sec. Litig.,
   25     274 F. Supp. 2d 1109 (N.D. Cal. 2003)................................................................. 9
   26 In re Heritage Bond Litig.,
   27       2005 U.S. Dist. LEXIS 13555 ............................................................................. 13

   28


                                                             - ii -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11752 Page 5 of 26



    1
        In re Omnivision Techs., Inc.,
            559 F. Supp. 2d 1036 (N.D. Cal. 2007)............................................................... 13
    2
        In re Painewebber Ltd. P’ships Litig.,
    3       171 F.R.D. 104 (S.D.N.Y. 1997) ......................................................................... 15
    4
        In re Rite Aid Corp.,
    5       146 F. Supp. 2d at 715 ......................................................................................... 13
    6 In re Vivendi Universal, S.A., Sec. Litig., No. 02 CIV. 5571 RJH,

    7       2012 WL 362028 (S.D.N.Y. Feb. 6, 2012), reconsideration denied,
            861 F. Supp. 2d 262 (S.D.N.Y. 2012) ................................................................. 10
    8

    9 Kirkorian v. Borelli,
            695 F. Supp. 446 (N.D. Cal. 1988).................................................................. 8, 15
   10
        Knight v. Red Door Salons, Inc., No. 08-01520 SC,
   11
          2009 U.S. Dist. LEXIS 11149 (N.D. Cal. Feb. 2, 2009) ..................................... 13
   12
        Lloyd v. CVB Fin. Corp.,
   13      811 F.3d 1200 (9th Cir. 2016) ............................................................................. 11
   14
      Mineworkers’ Pension Scheme, et al., v. First Solar Inc., et al.,
   15   881 F.3d 750 (9th Cir. 2018) ............................................................................... 11
   16 Mullane v. Central Hanover Bank & Trust Co.,

   17       339 U.S. 306 (1950) ............................................................................................ 17

   18 Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,
            221 F.R.D. 523 (C.D. Cal. 2004) .............................................................. 7, 10, 15
   19

   20 Pacific Enters. Sec. Litig.,
            47 F.3d 373 (9th Cir. 1995) ................................................................................. 15
   21
        Rannis v. Recchia,
   22
          380 F. App’x 646 (9th Cir. 2010) ........................................................................ 17
   23
        Rodriguez v. West Publishing Corp.,
   24     563 F.3d 948 (9th Cir. 2009) ................................................................................. 6
   25
      Torrisi v. Tucson Elec. Power Co.,
   26    8 F.3d 1370 (9th Cir. 1993) ................................................................................. 10
   27 True v. American Honda Motor Co.,

   28       749 F. Supp. 2d 1052 (C.D. Cal. 2010) ............................................................... 14

                                                            - iii -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11753 Page 6 of 26



    1
                                                                 Statutes

    2 15 U.S.C. § 78u-4(a)(7) ............................................................................................ 16

    3 False Claims Act ......................................................................................................... 3

    4 FOIA ......................................................................................................................... 13

    5
        Private Securities Litigation Reform Act ................................................................. 16
    6
                                                                   Rules
    7

    8
        Federal Rule of Civil Procedure 23 ................................................................... passim

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                                                                - iv -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11754 Page 7 of 26



    1 I.      INTRODUCTION
    2
              Lead Plaintiff Brad Mauss and additional named plaintiff Daniel Popov
    3
        (collectively, “Plaintiffs”), on behalf of themselves and the Class,1 are pleased to
    4
        present, for the Court’s preliminary approval, a $7.9 million cash settlement resolving
    5
        all claims in this Litigation (the “Settlement”), as set forth in the Stipulation of
    6
        Settlement dated March 23, 2018 (the “Stipulation”). Plaintiffs respectfully request
    7
        that the Court initiate the approval process by entering an order, substantially in the
    8
        form filed herewith (the “Preliminary Approval Order”): (1) preliminarily approving
    9
        the proposed Settlement as set forth in the Stipulation; (2) appointing Strategic
   10
        Claims Services as Claims Administrator; (3) approving the proposed form and
   11
        manner of disseminating notice to the Class; (4) setting deadlines for the
   12
        dissemination of notice, the submission of proofs of claim and requests for exclusion,
   13
        the filing of objections, and the filing of Plaintiffs’ motion for final approval of the
   14
        Settlement and Class Counsel’s application for attorneys’ fees and expenses; and (5)
   15
        setting a date for the final approval hearing.
   16
              The proposed $7.9 million Settlement is not only fair, reasonable, and
   17
        adequate, but is also an excellent result. As set forth in more detail below, the
   18
        proposed Settlement provides the Class with a range of approximately 23% to 34% of
   19
        reasonably recoverable damages—significantly better than the historical norm for
   20
        settlements in securities class actions. See, e.g., Laarni Bulan, et al., Cornerstone
   21
        Research, Securities Class Action Settlements: 2016 Review and Analysis, at 7
   22
        (2017), available at https://www.cornerstone.com/Publications/Reports/Securities-
   23
        Class-Action-Settlements-2016-Review-and-Analysis        (noting    that   the   median
   24
        securities class-action settlement in 2016 was for 2.5% of estimated damages).
   25
        Moreover, Plaintiffs and their counsel have a thorough understanding of the strengths
   26
   27   1
       Capitalized terms are defined consistent with the Stipulation of Settlement dated
   28 March 23, 2018, annexed as Exhibit 1 to the Declaration of Michele S. Carino,
      dated March 23, 2018 (“Carino Decl.”), filed herewith.
                                               -1-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11755 Page 8 of 26



    1 and weaknesses of their claims, including the potential limitations on damages and

    2 recovery. The Settlement was reached after more than four years of litigation,

    3 including (1) an extensive investigation conducted by Class Counsel; (2) the

    4 preparation of detailed pleadings, including the Sixth Amended Complaint; (3)

    5 contentious motion practice with respect to each of Defendants’ motions to dismiss;

    6 (4) months of discovery, including review and analysis of over two hundred thousand

    7 pages of documents, preparation and exchange of expert reports, and a total of

    8 twenty-six fact and expert witness depositions; (5) class certification and related

    9 discovery, including depositions of Plaintiffs and expert witnesses; (6) extensive
   10 consultations with experts to evaluate potential damages and complex regulatory and

   11 compliance issues; (7) the preparation and exchange of formal mediation statements

   12 and exhibits; and (8) extensive, vigorous arm’s-length settlement negotiations,

   13 including two formal mediation sessions conducted by Robert A. Meyer, Esq. of

   14 JAMS.

   15         While Plaintiffs believe the merits of the case are strong, the proposed
   16 Settlement is an excellent result and is in the best interests of the Class in light of the

   17 risks and costs of litigating this Litigation through trial and post-trial proceedings.

   18 Accordingly, Plaintiffs request preliminary approval so that notice of the proposed

   19 Settlement may be disseminated to the Class.

   20 II.     FACTUAL BACKGROUND
   21
              This is a federal securities class action against NuVasive, Inc. (“NuVasive” or
   22
        the “Company”), and the Company’s former CEO, Alexis V. Lukianov, and former
   23
        CFO, Michael J. Lambert (collectively, the “Defendants”). NuVasive is a medical
   24
        device company focused on developing surgical products and procedurally integrated
   25
        solutions for the spine. ¶2.2 Plaintiffs allege that throughout the Class Period,
   26
        Defendants unlawfully inflated NuVasive’s stock price by making materially false or
   27

   28
        2
         Citations to “¶ __” refer to paragraphs in the Sixth Amended Class Action
        Complaint (the “Complaint”), filed October 26, 2016. (Dkt. 105).
                                              -2-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11756 Page 9 of 26



    1 misleading statements and/or failing to disclose material facts concerning, inter alia,

    2 the Company’s compliance with healthcare fraud and abuse laws, including the False

    3 Claims Act and Anti-Kickback Statute. See, e.g., ¶¶ 6, 14, 47, 256, 293. Among

    4 other things, Plaintiffs allege that Defendants employed numerous sales and

    5 marketing practices that exposed the Company to an increased risk of regulatory

    6 enforcement and related litigation. ¶ 69.

    7         As set forth in the Complaint, the truth regarding Defendants’ misstatements
    8 and omissions began to be revealed on July 30, 2013, when the Company disclosed

    9 that it received a subpoena from the Office of the Inspector General of the U.S.
   10 Department of Health and Human Services (“OIG”) “in connection with an

   11 investigation into possible false or otherwise improper claims submitted to Medicare

   12 and Medicaid.” ¶ 337. On this news, NuVasive’s securities declined $3.28 per share,

   13 or over 12%, to close at $22.84 per share on July 31, 2013.

   14         On July 30, 2015, NuVasive announced that the Company agreed to settle the
   15 OIG investigation and a related whistleblower lawsuit for $13.5 million, plus fees.

   16 ¶343. Plaintiffs and Class members allege they were harmed when the true extent of

   17 risk associated with Defendants’ compliance issues was revealed.

   18 III.    PROCEDURAL HISTORY
   19
              This action was commenced on August 28, 2013 by Plaintiff Daniel Popov.
   20
        (Dkt. 1). On December 27, 2013, the Court appointed Plaintiff Brad Mauss as Lead
   21
        Plaintiff and Pomerantz LLP as Lead Counsel. (Dkt. 15).
   22
              Lead Plaintiff filed amended pleadings on February 13, 2014 (Dkt. 22),
   23
        December 23, 2014 (Dkt. 39), and February 23, 2015 (Dkt. 47). While Defendants’
   24
        Motion to Dismiss the Fourth Amended Complaint was pending (Dkt. 49-51), the
   25
        Court requested that the parties submit supplemental briefing on the issue of loss
   26
        causation. (Dkt. 59).
   27
              On August 28, 2015, the Court held that the Fourth Amended Complaint
   28


                                            -3-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11757 Page 10 of 26



    1 adequately alleged falsity and scienter, but granted Defendants’ motion to dismiss

    2 with leave to amend to incorporate new factual and loss causation allegations. (Dkt.

    3 69). Lead Plaintiff filed the Fifth Amended Complaint on September 11, 2015. (Dkt.

    4 70). On July 12, 2016, following Defendants’ Motion to Dismiss and the submission

    5 of supplemental authority and further briefing on loss causation, the Court, inter alia,

    6 denied Defendants’ Motion to Dismiss and sustained the complaint.3 (Dkt. 85).

    7         On October 26, 2016, Lead Plaintiff filed the Sixth Amended Complaint, in
    8 order to add Daniel Popov as an additional named Plaintiff. (Dkt. 105). Plaintiffs

    9 subsequently moved to certify this Litigation as a class action in accordance with
   10 Federal Rule of Civil Procedure 23. (Dkt. 106).

   11         Discovery commenced, and the parties exchanged document requests and
   12 interrogatories and began producing documents on a rolling basis. Plaintiffs were

   13 deposed in connection with their motion for class certification, as were experts for

   14 both Plaintiffs and Defendants, respectively.

   15         On March 22, 2017, the Court granted Plaintiffs’ motion for class certification
   16 and certified the following Class:

   17         All persons other than defendants who purchased or otherwise acquired
              NuVasive, Inc. (“NuVasive” or the “Company”) common stock between
   18
              October 22, 2008 and July 30, 2013 (the “Class Period”), inclusive. Excluded
   19         from the Class are any parties who are or have been Defendants in this
              litigation, the present and former officers and directors of NuVasive and any
   20
              subsidiary thereof, members of their immediate families and their legal
   21         representatives, heirs, successors or assigns and any entity in which any
              current or former Defendant has or had a controlling interest.
   22
              (Dkt. 128).4   Defendants filed a Petition for Permission to Appeal under
   23
        Federal Rule of Civil Procedure 23(f), which was denied by the United States Court
   24
        of Appeals for the Ninth Circuit on August 15, 2017.
   25

   26
       The claims against defendant O’Boyle were dismissed without leave to amend.
        3

   27   4
        There are no differences between the litigation class certified by this Court on
   28 March 22, 2017 and the settlement Class eligible to participate in this Settlement.
      See Stipulation at ¶1.4 (Carino Decl. Ex. 1).
                                            -4-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11758 Page 11 of 26



    1         Discovery remained ongoing, with depositions of fact and expert witnesses
    2 continuing through September 2017. In total, over two hundred thousand pages of

    3 documents were produced; expert reports and rebuttal reports were exchanged; and

    4 over twenty fact witnesses and four expert witnesses were deposed.

    5         On September 8, 2017, Defendants filed motions for summary judgment and to
    6 exclude the testimony of Plaintiffs’ expert on the issue of loss causation. (Dkt. 152-

    7 155).

    8         On October 19, 2017, the parties participated in a mediation session with
    9 Robert A. Meyer, Esq. at JAMS.          Prior to the mediation, the parties submitted
   10 comprehensive mediation statements setting forth the strengths and weaknesses of

   11 their case. The mediation session was not successful.

   12         On October 23, 2017, at oral argument on Defendants’ pending motions, the
   13 Court reset the schedule for pretrial proceedings and continued the trial date to April

   14 9, 2018, finding that the outcome of the Ninth Circuit’s decision in Mineworkers’

   15 Pension Scheme, et al., v. First Solar Inc., et al., Case No. 15-17282, could affect its

   16 ruling on the loss causation standard to be applied in deciding the motions.

   17         On February 1, 2018, following the Ninth Circuit’s ruling in Mineworkers’
   18 Pension Scheme, et al., v. First Solar Inc., et al., the Court denied Defendants’

   19 motions for summary judgment and to exclude the testimony of Plaintiffs’ expert.

   20 (Dkt. 193).
   21         On February 9, 2018, Defendants filed motions in limine in preparation for
   22 trial. (Dkt. 214-237).

   23         On February 13, 2018, the parties participated in another mediation session
   24 conducted by Mr. Robert Meyer. The parties, with Mr. Meyer’s assistance, reviewed

   25 the strengths and weaknesses of their cases, respectively, and exchanged counter-

   26 proposals throughout the day.      Ultimately, after extensive negotiation, the parties
   27 agreed to settle the Litigation for $7.9 million.

   28


                                             -5-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11759 Page 12 of 26



    1
        IV.   THE SETTLEMENT

    2         Under the terms of the Settlement, Defendants will cause $7.9 million (the
    3 “Settlement Amount”) to be paid into an escrow account maintained by Huntington

    4 National Bank. Class Counsel believes that this immediate cash recovery provides a

    5 substantial benefit to the Class. The proposed Notice of Proposed Class Action

    6 Settlement (the “Notice”) informs Class Members of the Settlement terms and affords

    7 an opportunity to request exclusion from the Class or to object to the Settlement, Plan

    8 of Allocation, and/or request for attorneys’ fees and expenses. The Notice will be

    9 mailed to the address of each Class Member (as identified in NuVasive’s transfer
   10 records), as well as to institutional investors and banks and brokerage firms that

   11 usually maintain custodial accounts. The Summary Notice of Proposed Class Action

   12 Settlement (the “Publication Notice”) will be published on a national business

   13 newswire. A copy of the Notice, Publication Notice, Proof of Claim and Release

   14 Form (“Proof of Claim”), and Stipulation will also be posted on a website maintained

   15 by the Settlement Administrator.

   16 V.      THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY
   17         APPROVAL

   18         At the Settlement Hearing, the Court will have before it extensive papers
   19 submitted in support of approval of the proposed Settlement and will be asked to

   20 make a determination as to whether the Settlement is fair, reasonable, and adequate
   21 under all of the circumstances surrounding the litigation of this Litigation. At this

   22 juncture, however, Plaintiffs request only preliminary approval of the Settlement.

   23         A.          Standards for Preliminary Approval
   24         “Fed. R. Civ. P. 23(e) requires the district court to determine whether a
   25 proposed settlement is fundamentally fair, adequate, and reasonable.” Hanlon v.

   26 Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). In evaluating a proposed class-
   27 action settlement, courts in the Ninth Circuit “put a good deal of stock in [class-

   28 action settlements that are] the product of arms-length, non-collusive, negotiated


                                            -6-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11760 Page 13 of 26



    1 resolution.” Rodriguez v. West Publishing Corp., 563 F.3d 948, 965 (9th Cir. 2009).

    2 More explicitly, the Supreme Court has cautioned that in reviewing a proposed class

    3 settlement, courts should “not decide the merits of the case or resolve unsettled legal

    4 questions.” Carson v. Am. Brands, Inc., 450 U.S. 79, 88 n.14 (1981). This is

    5 consistent with the broader “strong judicial policy that favors settlements,”

    6 particularly in class actions and other complex cases where substantial resources can

    7 be conserved by avoiding the time, cost, and rigor of prolonged litigation. Class

    8 Plaintiffs v. Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992); see also 2 H. Newberg &

    9 A. Conte, Newberg on Class Actions § 11.41 (4th ed. 2002) (“The compromise of
   10 complex litigation is encouraged by the courts and favored by public policy.”).

   11        The three-step process for approval of a class action settlement is: (1)
   12 preliminary approval; (2) dissemination of notice to the class; and (3) a settlement

   13 approval hearing where class members may be heard regarding the fairness,

   14 adequacy, and reasonableness of the settlement. See Nat’l Rural Telecomms. Coop. v.

   15 DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal. 2004). This procedure serves the

   16 dual function of safeguarding class members’ procedural due process rights and

   17 enabling the court to fulfill its role as the guardian of the class members’ interests.

   18 See Newberg on Class Actions § 11.25. Plaintiffs respectfully request that the Court

   19 take the first step in the process and grant preliminary approval to the Settlement.

   20        B.           The Proposed Settlement Merits a Presumption of Fairness
   21        “To determine whether preliminary approval is appropriate, the settlement
   22 need only be potentially fair, as the Court will make a final determination of its

   23 adequacy at the hearing on Final Approval, after such time as any party has had a

   24 chance to object and/or opt out.” Acosta v. Trans Union, LLC, 243 F.R.D. 377, 386

   25 (C.D. Cal. 2007) (cited in Deaver v. Compass Bank, No. 13-cv-00222-JSC, 2015 WL

   26 4999953, at *6, 2015 U.S. Dist. LEXIS 111170, at *20 (N.D. Cal. Aug. 21, 2015)).
   27 Accordingly:

   28


                                             -7-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11761 Page 14 of 26



    1
               If the preliminary evaluation of the proposed settlement does not
               disclose grounds to doubt its fairness or other obvious deficiencies,
    2          such as unduly preferential treatment of class representatives or of
    3
               segments of the class, or excessive compensation for attorneys, and
               appears to fall within the range of possible approval, the court
    4          should direct that notice under Rule 23(e) be given to the class
    5
               members of a formal fairness hearing, at which arguments and
               evidence may be presented in support of and in opposition to the
    6          settlement.
    7
        Manual for Complex Litigation (Third) § 30.41 (1995).
    8
               Here, the proposed Settlement merits a presumption of fairness because it has
    9
        no obvious deficiencies and the settlement recovery falls within the range of possible
   10
        approval. Indeed, it is both procedurally and substantively fair—it is the product of
   11
        arm’s-length negotiations among well-informed and experienced counsel following
   12
        more than four years of vigorous litigation, and it provides the Class with an
   13
        excellent recovery.
   14
               Additionally, Class Counsel, Pomerantz LLP and Liaison Counsel, Glancy
   15
        Prongay & Murray LLP, are highly experienced in federal securities class actions and
   16
        had a thorough understanding of the strengths and weaknesses of the parties’
   17
        respective positions before agreeing to settle. “The recommendation of experienced
   18
        counsel carries significant weight in the court’s determination of the reasonableness
   19
        of the settlement.” Kirkorian v. Borelli, 695 F. Supp. 446, 451 (N.D. Cal. 1988). This
   20
        was a hard-fought case, involving extensive briefing on multiple motions to dismiss;
   21
        a voluminous documentary record; a contested fight for class certification, followed
   22
        by Defendants’ Petition to the Ninth Circuit Pursuant to Federal Rule of Civil
   23
        Procedure 23(f); and hotly-contested motions for summary judgment and to exclude
   24
        expert testimony, accompanied by with an even more voluminous documentary
   25
        record. Over two hundred thousand pages of documents have been produced, and the
   26
        parties have taken a total of twenty-eight depositions, including the depositions of
   27
        Plaintiffs.
   28


                                              -8-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11762 Page 15 of 26



    1        Settlement negotiations included two all-day mediation sessions on October
    2 17, 2017 and February 13, 2018 before nationally regarded mediator Robert A.

    3 Meyer, Esq. of JAMS. In advance of these sessions, the parties exchanged detailed

    4 mediation statements addressing liability and damages. During the mediation

    5 sessions, both sides made adversarial presentations about the merits of Plaintiffs’

    6 claims and the defenses to those claims. The negotiations were at all times hard-

    7 fought and at arm’s length, and they produced a result that the parties believe to be in

    8 their respective best interests. The arm’s-length nature of the settlement negotiations

    9 and the involvement of an experienced mediator supports the conclusion that the
   10 Settlement is fair and was achieved free of collusion. See D’Amato v. Deutsche Bank,

   11 236 F.3d 78, 85 (2d Cir. 2001) (a “mediator’s involvement in . . . settlement

   12 negotiations helps to ensure that the proceedings were free of collusion and undue

   13 pressure”); In re Cylink Sec. Litig., 274 F. Supp. 2d 1109, 1112 (N.D. Cal. 2003)

   14 (“oversight of the settlement negotiations” by former Magistrate Judge “provides

   15 every indication that those discussions were conducted at arms length”). Class

   16 Counsel thus had a thorough understanding of the action and of the strengths and

   17 weaknesses of the parties’ respective positions, and has determined that the

   18 Settlement is in the best interests of the Class, especially considering the expense,

   19 risks, difficulties, delays, and uncertainties of litigation, trial, and post-trial

   20 proceedings.
   21        In addition, the Settlement has no obvious deficiencies. It provides a
   22 substantial cash recovery to the Class, and there is no preferential treatment to

   23 Plaintiffs or any other Class Members. The proposed Plan of Allocation (as set forth

   24 in the Notice) was developed by a damages expert in consultation with Class Counsel

   25 and provides a fair and reasonable method to allocate the Net Settlement Fund among

   26 Settlement Class Members who submit valid claims.
   27

   28


                                             -9-
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11763 Page 16 of 26



    1
              C.            The Proposed Settlement Recovery Falls Within the Range
                            of Possible Approval
    2
              The Settlement also fares well in light of the applicable factors used in
    3
        evaluating class-action settlements for final approval. These factors include: “(1) the
    4
        strength of the plaintiffs’ case; (2) the risk, expense, complexity, and likely duration
    5
        of further litigation; (3) the risk of maintaining class action status throughout the trial;
    6
        (4) the amount offered in settlement; (5) the extent of discovery completed and the
    7
        stage of the proceedings; (6) the experience and views of counsel; (7) the presence of
    8
        a governmental participant; and (8) the reaction of the class members to the proposed
    9
        settlement.” Churchill Vill., L.L.C. v. GE, 361 F.3d 566, 575 (9th Cir. 2004). The
   10
        factors are non-exclusive and not all need be shown. Id. at 576 n.7. In fact, “one
   11
        factor alone may prove determinative in finding sufficient grounds for court
   12
        approval.” Nat’l Rural Telecomms. Coop., 221 F.R.D. at 525; see, e.g., Torrisi v.
   13
        Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993).
   14
                     1.     The Strength of Plaintiffs’ Case and Risk, Expense,
   15                       Complexity, and Likely Duration of Further Litigation
   16         While Plaintiffs believe their case is strong, the “risk, expense, complexity, and
   17 likely duration of further litigation” were substantial. Securities-fraud cases are

   18 inherently complex and frequently take an exceptionally long time to litigate. Indeed,

   19 because such cases often involve significant post-trial motions and appeals, even a

   20 trial may not mark an end to the proceedings. See, e.g., In re Vivendi Universal, S.A.,
   21 Sec. Litig., No. 02 CIV. 5571 RJH, 2012 WL 362028 (S.D.N.Y. Feb. 6, 2012) (noting

   22 that, two years after jury verdict in plaintiffs’ favor and ten years after the case was

   23 filed, shareholders had still received no recovery), reconsideration denied, 861 F.

   24 Supp. 2d 262 (S.D.N.Y. 2012). In this case, Defendants have denied the allegations

   25 and mounted a vigorous defense at every turn, and more than likely would have

   26 continued to do so even if Plaintiffs prevailed at trial.          Moreover, the range of
   27 aggregate damages – from approximately $23 million to $35 million – limited the

   28 Class’s potential recovery and made the added expense of trial and appeals especially


                                               - 10 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11764 Page 17 of 26



    1 disadvantageous. In contrast, the Settlement provides the Class with substantial,

    2 certain, and immediate relief, without the delay and expense of further motion

    3 practice, trial, and post-trial proceedings and the risk of an uncertain outcome.

    4        At the time of Settlement, Plaintiffs had defeated Defendants’ motion for
    5 summary judgment and motion to exclude expert testimony concerning loss causation

    6 and damages. The issue of whether Plaintiffs ultimately could prove loss causation

    7 based on the initial announcement of a regulatory investigation, followed by post-

    8 Class Period “confirming events” had been intensely litigated, but the Ninth Circuit’s

    9 recent decisions in Mineworkers’ Pension Scheme, et al., v. First Solar Inc., et al.,
   10 881 F.3d 750 (9th Cir. 2018), and Lloyd v. CVB Fin. Corp., 811 F.3d 1200 (9th Cir.

   11 2016), clarified that Plaintiffs articulated a viable theory of loss causation as a matter

   12 of law. Nevertheless, Defendants continued to dispute whether subsequent

   13 disclosures were actually “confirming” events, and in any event, the calculation of

   14 damages     remained confined to only one statistically-significant “corrective
   15 disclosure” prior to the end of the Class Period. Thus, while Plaintiffs believed that

   16 loss causation would be proven at trial, the complexities of the issue and likelihood of

   17 post-trial appeals, coupled with the limitation on damages, increased the risk and

   18 expense of further litigation, thereby reducing the amount and likelihood of any

   19 recovery by the Class.

   20        Similarly, Plaintiffs believe their case was very strong with respect to falsity
   21 and scienter, based in part on the extensive record compiled in discovery and the

   22 reasons stated by the Court in denying Defendants’ multiple motions to dismiss.

   23 However, numerous pre-trial motions concerning an array of evidentiary issues

   24 remained outstanding, and Plaintiffs were not assured that certain evidence would

   25 ever be presented to a jury at trial. In addition, conflicting testimony concerning the

   26 adequacy of NuVasive’s compliance program created the potential for a “battle of the
   27 experts,” with the attendant possibility that the trier of fact could find Defendants’

   28 public statements adequately disclosed the Company’s exposure to regulatory risk.


                                             - 11 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11765 Page 18 of 26



    1 See, e.g., In re Celera Corp. Secs. Litig., No. 5:10-cv-02604-EJD, 2015 U.S. Dist.

    2 LEXIS 157408, at *17 (N.D. Cal. Nov. 20, 2015) (considering that a potential “battle

    3 of the experts” added to the risk, expense, and complexity of continued litigation).

    4          Therefore, on balance, this factor weighs in favor of preliminary approval of
    5 the Settlement.

    6                2.    The Amount Offered in Settlement
    7          Plaintiffs’ damages are based on one corrective disclosure on July 30, 2013,
    8 which resulted in a statistically significant decline of $3.28 per share or

    9 approximately 12%, to close at $22.84 per share on July 31, 2013. Plaintiffs contend
   10 that the entire price decline was attributable to the disclosure of new information

   11 correcting earlier misrepresentations, and thus recoverable as damages. Assuming

   12 Plaintiffs were successful in proving loss causation (which is not a certainty),

   13 Plaintiffs’ damages expert estimated that aggregate damages resulting from this

   14 corrective disclosure ranged from approximately $23 million (utilizing a 80/20 multi-

   15 trader model5) to $35 million (utilizing a first-in, first-out (FIFO) institutional trader

   16 model). Consequently, the $7.9 million Settlement provides a recovery of

   17 approximately 23% to 34% of estimated aggregate damages depending on the

   18 economic model.       After deducting estimated expenses, administrative costs, and
   19 attorneys’ fees and Class representative awards (if approved by the Court), the

   20 estimated average recovery is approximately $0.13 per share.
   21

   22   5
            The proportional 80/20 Multi-Trader Model posits two active traders (e.g.,
   23 institutions and individuals) with different holdings and propensities to trade. The

   24 so-called “80/20” split between the two sets of traders specifies a large set of
        “slow” traders (i.e., they hold 80% of shares available, but trade 20% of the
   25 volume) and a small set of “fast” traders (i.e., they hold 20% of shares available,

   26 but trade 80% of the volume). This model has been advocated by representative
        authors from Cornerstone Research, an economic consulting firm frequently
   27 engaged by defendants in class action securities litigation. See W. Beaver, et al.,

   28 Stock Trading Behavior and Damage Estimation in Securities Cases, Cornerstone
        Research Working Paper (1993).
                                             - 12 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11766 Page 19 of 26



    1         This Settlement, measured against the best-case scenario of damages, is fair,
    2 adequate, and reasonable. In comparison, the median securities class-action

    3 settlement in 2016 was for 2.5% of the estimated maximum recovery. See Laarni

    4 Bulan, et al., Cornerstone Research, Securities Class Action Settlements: 2016

    5 Review and Analysis, at 7 (2017), available at https://www.cornerstone.com/

    6 Publications/Reports/Securities-Class-Action-Settlements-2016-Review-and-

    7 Analysis.6 The recovery here far surpasses that benchmark. Moreover, in the event

    8 Defendants were able to challenge this corrective disclosure, or otherwise argue that

    9 other confounding information also affected the share price on that day, damages
   10 could be substantially reduced or eliminated completely.          These risks, weighed
   11 against an immediate cash recovery, support preliminary approval of the Settlement.

   12                3.    The Extent of Discovery Completed and Stage of the
   13                      Proceedings
   14         The extent of discovery completed and stage of the proceedings also support
   15 preliminary approval. See, e.g., In re Am. Apparel S’holder Litig., 2014 U.S. Dist.

   16 LEXIS 184548, *41 (C.D. Cal. Jul. 28, 2014); Browning v. Yahoo! Inc., 2007 U.S.

   17 Dist. LEXIS 86266, *34-5 (N.D. Cal. Nov. 16, 2007). This Litigation has been

   18

   19   6
          See also Securities Class Action Settlements 2013 Review and Analysis, at 8-9
   20
        (noting that in 2013, securities settlements overall returned a median of 2.1% of
        damages, with 4.3% where damages are between $50-124 million); In re
   21   Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1042 (N.D. Cal. 2007) (approving
   22   6% recovery of maximum damages) (citing In re Heritage Bond Litig., 2005 U.S.
        Dist. LEXIS 13555, at **27-28 (average recovery between 2% to 3% of maximum
   23   damages)); In re Rite Aid Corp., 146 F. Supp. 2d at 715 (citing studies indicating
   24   that the average securities fraud class action settlement since 1995 has resulted in a
        recovery of 5.5% – 6.2% of estimated losses); see also Officers for Justice, 688
   25   F.2d at 628 (“It is well-settled law that a cash settlement amounting to only a
   26   fraction of the potential recovery will not per se render the settlement inadequate or
        unfair”); Knight v. Red Door Salons, Inc., No. 08-01520 SC, 2009 U.S. Dist.
   27   LEXIS 11149, at *10 (N.D. Cal. Feb. 2, 2009) (“The immediacy and certainty of
   28   the settlement award justifies a recovery smaller than the Class Members could
        seek in the case”).
                                             - 13 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11767 Page 20 of 26



    1 vigorously prosecuted by Plaintiffs for over four years, during which time Plaintiffs,

    2 inter alia: (1) conducted a detailed investigation, including reviewing publicly-

    3 available information regarding Defendants, filing FOIA requests with the FDA and

    4 OIG, and interviewing numerous confidential witnesses; (2) defeated multiple

    5 motions to dismiss, a motion for summary judgment, and a motion to exclude expert

    6 testimony; (3) consulted with, and obtained reports and analysis from, experts

    7 regarding loss causation, damages, and regulatory compliance issues; and (4)

    8 overcame Defendants’ challenges to class certification, including a Rule 23(f)

    9 petition, resulting in the Court’s certification of the identical Class eligible to
   10 participate in the Settlement.

   11        Additionally, the Parties conducted extensive fact and expert discovery,
   12 including production and review of over two hundred thousand pages of documents

   13 produced by Defendants, Plaintiffs, and their respective experts; twenty-six fact and

   14 expert witness depositions; depositions of each of the Plaintiffs; and preparation and

   15 exchange of expert reports and expert rebuttal reports. The Parties also drafted

   16 mediation statements with annexed exhibits and participated in two mediation

   17 sessions with an experienced mediator. Finally, trial preparation was well-underway

   18 at the time the Settlement was reached.

   19        Thus, at this stage of the proceedings, Plaintiffs “are well positioned to assess
   20 the strength of this case and the comparative benefits of the proposed [Settlement].”
   21 Yahoo!, 2007 U.S. Dist. LEXIS 86266 at *35 (granting approval where case was

   22 pending for three years, involved discovery and motion practice, and the parties

   23 engaged in multiple rounds of mediation); see also In re Am. Apparel S’holder Litig.,

   24 2014 U.S. Dist. LEXIS 184548 at *41 (granting approval and finding that “[t]he more

   25 discovery that has been completed, the more likely it is that the parties have ‘a clear

   26 view of the strengths and weaknesses of their cases.’”) (internal quotations omitted);
   27 True v. American Honda Motor Co., 749 F. Supp. 2d 1052, 1078 (C.D. Cal. 2010)

   28 (granting approval where “discovery has been sufficient to permit the parties to enter


                                            - 14 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11768 Page 21 of 26



    1 into a well-informed settlement”). This factor undoubtedly weighs in favor of

    2 preliminary approval.

    3               4.    The Experience and Views of Counsel
    4         Class Counsel, Pomerantz LLP, and Liaison Counsel, Glancy Prongay &
    5 Murray LLP, are highly experienced in federal securities class actions and had a

    6 thorough understanding of the strengths and weaknesses of the parties’ respective

    7 positions before agreeing to settle. As noted above, this was a hard-fought case,

    8 involving extensive briefing at both the motion to dismiss and summary judgment

    9 stage, particularly on the issue of loss causation. Class Counsel also conducted an
   10 intensive, ongoing investigation while preparing each pleading; prepared and served

   11 discovery requests on Defendants; reviewed hundreds of thousands of pages of

   12 documents produced; and consulted extensively with experts concerning regulatory

   13 compliance, loss causation, and damages.        The strengths and weaknesses of the
   14 parties’ respective positions were also vetted through mediation with an experienced

   15 mediator, Robert A. Meyer, Esq.

   16         Accordingly, Class Counsel’s informed determination that the Settlement is in
   17 the best interest of the Settlement Class should be afforded significant weight. See

   18 Nat’l Rural Telecomms. Coop., 221 F.R.D. at 528 (“‘Great weight’ is accorded to the

   19 recommendation of counsel . . . because ‘parties represented by competent counsel

   20 are better positioned than courts to produce a settlement that fairly reflects each
   21 party’s expected outcome in the litigation’”) (citing In re Painewebber Ltd. P’ships

   22 Litig., 171 F.R.D. 104, 125 (S.D.N.Y. 1997) and Pacific Enters. Sec. Litig., 47 F.3d

   23 373, 378 (9th Cir. 1995)); see also Kirkorian v. Borelli, 695 F. Supp. 446, 451 (N.D.

   24 Cal. 1988) (“The recommendation of experienced counsel carries significant weight

   25 in the court’s determination of the reasonableness of the settlement.”).

   26
        VI.   THE PROPOSED NOTICE PROGRAM IS APPROPRIATE
   27
              The parties have negotiated the form of a Notice of Proposed Class Action
   28


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Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11769 Page 22 of 26



    1 Settlement (the “Notice”) to be disseminated to the Class to notify them of the terms

    2 of the Settlement and of their rights in connection therewith, as well as a Summary

    3 Notice of Proposed Class Action Settlement (the “Publication Notice”) to be

    4 published on a national business newswire.7 The Notice and Publication Notice have

    5 been drafted to comply with the provisions of the Private Securities Litigation

    6 Reform Act. See 15 U.S.C. § 78u-4(a)(7). The Notice provides detailed information

    7 concerning (a) the proposed Settlement; (b) the nature, history, and progress of the

    8 Action; (c) the date of the Final Approval Hearing; (d) the proposed Plan of

    9 Allocation; (e) the fees and expenses to be sought by Class Counsel; (f) the rights of
   10 Class Members, including the procedures for filing a Proof of Claim, requesting

   11 exclusion from the Class, or objecting to the Settlement or Plan of Allocation or

   12 request for fees and expenses; and (g) how to contact Class Counsel, access the

   13 Court’s docket, or otherwise learn more about the Action and Settlement.

   14        Under the proposed Preliminary Approval Order, the Settlement Administrator
   15 will (1) mail the Notice and Proof of Claim to all purchasers of NuVasive common

   16 stock during the Class Period, (2) post the Notice and Proof of Claim to the

   17 Settlement Administrator’s website, and (3) cause the Publication Notice to be

   18 published over Investor’s Business Daily and Globe Newswire. The Settlement

   19 Administrator will also make additional copies of the Notice available to nominee

   20 holders such as brokerage firms who held Company stock. Such nominee holders will
   21 be requested to forward copies of the Notice to all beneficial owners of such shares

   22 or, alternatively, to provide the Settlement Administrator with their names and

   23 addresses so the Settlement Administrator can mail them the Notice directly.

   24        Plaintiffs believe that providing long-form notice by mail, along with
   25
        7
   26  The Notice, Publication Notice, and Proof of Claim are attached to the Stipulation
   27 as Exhibits B, C, and D (Carino Decl. Ex. 1, et seq.). Note that these documents
      currently contain blanks for dates to be ordered by the Court, which will be filled in
   28
      with the appropriate dates prior to dissemination.
                                            - 16 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11770 Page 23 of 26



    1 publishing summary notice by a major business newswire service and posting the

    2 Notice and Proof of Claim on the Settlement Administrator’s website, is the best

    3 notice practicable under the circumstances, is typical of the notice given in other class

    4 actions, and satisfies the requirements of Rule 23 and due process. See Rannis v.

    5 Recchia, 380 F. App’x 646, 650 (9th Cir. 2010) (mail to last-known address of class

    6 members sufficient); In re Celera Corp. Sec. Litig., No. 5:10-cv-02604-EJD, 2015

    7 U.S. Dist. LEXIS 157408, at *13 (N.D. Cal. Nov. 20, 2015) (mailing notice,

    8 publishing summary notice, and posting on settlement-specific website sufficient).

    9 Accordingly, the Court should find that the Notice, Publication Notice, and the
   10 procedures for dissemination are “reasonably calculated, under all the circumstances,

   11 to apprise interested parties of the pendency of the action and afford them an

   12 opportunity to present their objections.” Mullane v. Central Hanover Bank & Trust

   13 Co., 339 U.S. 306, 314 (1950).

   14 VII. THE PROPOSED SCHEDULE

   15
              Plaintiffs propose the following schedule of events leading to the Final
   16
        Approval Hearing as set forth in the Preliminary Approval Order in the form filed
   17
        with the Court:
   18

   19
         Deadline for mailing Notice, publication of
                                                          Twenty (20) calendar days after
   20    Publication Notice, and posting of Notice and
                                                          entry of the Preliminary
   21    Stipulation on Settlement website (“Notice
                                                          Approval Order
         Date”)
   22
         Deadline for Plaintiffs to file papers in support Thirty-four (34) calendar days
   23
         of final Settlement approval and Fee and          before the Settlement Hearing
   24    Expense Award
   25                                                     Seventeen (17) calendar days
   26    Objection Deadline                               before the Settlement Hearing
   27

   28


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Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11771 Page 24 of 26



    1                                                     Ten (10) calendar days before
        Opt-Out Deadline                                  the Settlement Hearing
    2

    3
        Deadline for Plaintiffs to file reply papers in   Seven (7) calendar days before
    4                                                     the Settlement Hearing
        support of Settlement and Fee and Expense
    5   Award and in response to any objections
    6                                                     Five (5) calendar days before the
    7   Deadline to submit Proofs of Claim                Settlement Hearing

    8
        Settlement Hearing                                ________________, 2018
    9
   10 VIII. CONCLUSION

   11        For the foregoing reasons, Plaintiffs respectfully request that the Court
   12 preliminarily approve the proposed Settlement and enter a Preliminary Approval

   13 Order substantially in the form filed herewith.

   14
        Dated: March 23, 2018                   Respectfully Submitted,
   15

   16                                           POMERANTZ LLP

   17                                           /s/Jeremy A. Lieberman
   18                                           Jeremy A. Lieberman
                                                Michele S. Carino
   19                                           600 Third Avenue, 20th Floor
   20                                           New York, New York 10016
                                                Telephone: (212) 661-1100
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   23

   24                                           Lead Counsel for Plaintiffs
   25
                                                GLANCY PRONGAY & MURRAY LLP
   26                                           Lionel Z. Glancy (CSB# 134180)
                                                1925 Century Park East, Suite 2100
   27
                                                Los Angeles, CA 90067
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                                              - 18 -
Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11772 Page 25 of 26



    1
                                          Facsimile: (310) 201-9160
                                          Email: info@glancylaw.com
    2

    3                                     Liaison Counsel for Plaintiffs
    4

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Case 3:13-cv-02005-JM-JLB Document 246 Filed 03/23/18 PageID.11773 Page 26 of 26



    1                             CERTIFICATE OF SERVICE
    2
              I hereby certify that on March 23, 2018, a copy of the foregoing was filed
    3
        electronically and served by mail on anyone unable to accept electronic filing.
    4
        Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
    5
        electronic filing system or by mail to anyone unable to accept electronic filing as
    6
        indicated on the Notice of Electronic Filing. Parties may access this filing through
    7
        the Court’s CM/ECF System.
    8

    9
                                                             /s/Jeremy A. Lieberman
   10                                                        Jeremy A. Lieberman
   11

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